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NOT FOR PUBLICATION

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA,    :
                             :                        Hon. Dennis M. Cavanaugh
          Plaintiff,         :
                             :                               ORDER
               v.            :
                             :                        Crim. No. 09-CR-45 (DMC)
MICHAEL BRASSINGTON AND PAUL :
BRASSINGTON,                 :
                             :
          Defendants.        :


DENNIS M. CAVANAUGH, U.S.D.J.:

       This matter comes before the Court upon motions by Defendants Michael Brassington and

Paul Brassington (collectively, “Defendants”) for judgment of acquittal pursuant to Fed. R. Crim.

P. 29, or, alternatively, for a new trial pursuant to Fed. R. Crim. P. 33.   After considering the

submissions of the parties, and based upon the Court’s Opinion filed this day;

       IT IS this 8th day of August, 2011;

       ORDERED that Paul Brassington’s motion for acquittal on Count 1 is denied;

       ORDERED that Michael Brassington’s motions for acquittal on Counts 6, 7, 20, and 21 are

denied;

       ORDERED that Defendants motions for a new trial are denied;



                                             S/ Dennis M. Cavanaugh
                                             Dennis M. Cavanaugh, U.S.D.J.

Original:      Clerk
cc:            All Counsel of Record
               File


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